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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
STATE OF MARYLAND

VS. i Case No. 8:19-cr-00348-PX
ALAKOM-ZED CRAYNE POBRE

Defendant

CONSENT MOTION TO TOLL SPEEDY TRIAL

Comes now the Defendant, Alakom-Zed Crayne Pobre, by and through counsel, Richard
A. Finci, Esquire and the Law Offices of Houlon, Berman, Finci & Levenstein, LLC, and
respectfully states as follows:

1. On August 9, 2019, the Court granted the Defendant’s Consent Motion for
Extension of Motions Filing Deadline, extending the deadline within which the Defendant shall
file pre-trial motions to September 6, 2019. (ECF 14),

2. The Defendant also requests that the Court exclude the time from filing the
Defendant’s Consent Motion for Extension of Motions Filing Deadline (August 8, 2019) to
September 6, 2019, when computing the time within which the trial must commence under the
Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A).

3. Undersigned Counsel has obtained the consent of Assistant United States
Attorney Dwight Draughon to toll the Speedy Trial Clock from August 8, 2019 through
September 6, 2019.

WHEREFORE, the Defendant respectfully requests the following relief:

1. That this Honorable Court toll the Speedy Trial Clock from August 8, 2019
through September 6, 2019,

2 Such further and additional relief as justice may require.
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Respectfully submitted,

/s/
Richard A. Finci, Esquire
Houlon, Berman, Finci & Levenstein, LLC
7850 Walker Drive, Suite 160
Greenbelt, Maryland 20770
finci@houlonberman.com
Telephone: (301) 459-8200
Facsimile: (301) 459-5721

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 15th day of August, 2019, a copy of the foregoing
Consent Motion to Toll Speedy Trial Clock was served via filing in the electronic filing system
to the Dwight Draughon, Esquire, Office of the United States Attorney, 6406 Ivy Lane,
Greenbelt, Maryland 20770.

/s/
Richard A. Finci, Esquire

